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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


MATTHEW CHARLES SCHLOBOHM,

                Plaintiff,

                v.                                             CASE NO. 23-3014-JWL

DONALD ASH, et al.,

                Defendants.

                                             ORDER

        This matter comes before the Court on three motions filed by Plaintiff. The first is titled

“Motion to Compel Compliance with Court-Ordered Martinez Report” (Doc. 71). In the motion,

Plaintiff again asks the Court to compel the defendants to produce “all recordings related to

Plaintiff’s claims forthwith.” (Doc. 71, at 4.) He asserts that “[t]he recordings in question are of

paramount importance for the Court to adequately screen Plaintiff’s Amended Complaint.” Id. at

2. Plaintiff further states that the recordings are “known to exist.” Id. at 1. He concludes by

asking the Court to consider sanctioning the Interested Party for failing to include the recordings

in the report. Id. at 4.

        As the Court explained in a previous order, the Martinez Report order (Doc. 49) stated as

follows: “Copies of pertinent rules, regulations, official documents, and, wherever appropriate, the

reports of medical or psychiatric examinations shall be included in the written report. Any

recordings related to Plaintiff’s claims shall also be included.” (Doc. 49, at 3 (emphasis

added).) Given this directive, the Court has already ordered the Interested Party to produce, as

part of the Martinez Report, all recordings related to Plaintiff’s claims. The fact that the Interested




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Party has not produced any recordings indicates to the Court that no recordings exist. If Plaintiff

has reliable evidence to the contrary, he should present it. Plaintiff’s motion is denied.

       Plaintiff also includes a request to deny the Interested Party’s request to seal Exhibit 3 to

the Martinez Report Supplement. Id. at 4. However, in a later motion (Doc. 73) discussed below,

Plaintiff states that he misunderstood what was being sealed and withdraws his request at this time.

(Doc. 73, at 2.)

       Plaintiff’s second motion is a Motion for Extension of Time to Respond to Court-Ordered

Martinez Report (Doc. 72). He seeks an extension of at least seven (7) days to file a response to

the report. For good cause shown, Plaintiff’s motion is granted. The deadline to file his response

is May 2, 2024.

       Plaintiff’s third motion is titled “Motion for Leave to Amend Previous Motion to Compel

Compliance with Court-Ordered Martinez Report.” (Doc. 73.) He states that he mistakenly

believed the entire supplement to the report was sealed rather than only Exhibit 3 to the

supplement. He further states that he wants to amend his prior motion (Doc. 71) to identify the

“known recordings” that he wants the Interested Party to provide. Plaintiff’s motion is granted.

He may file an amended version of Doc. 71, and the Court will consider it.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion to Compel Compliance with

Court-Ordered Martinez Report (Doc. 71) is denied.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Extension of Time to Respond

to Court-Ordered Martinez Report (Doc. 72) is granted. Plaintiff’s response to the Martinez

Report must be filed on or before May 2, 2024.




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       IT IS FURTHER ORDERED that Plaintiff’s Motion for Leave to Amend Previous

Motion to Compel Compliance with Court-Ordered Martinez Report (Doc. 73) is granted.

Plaintiff may file an amended version of Doc. 71 if he wishes, no later than May 2, 2024.

       IT IS SO ORDERED.

       DATED: This 19th day of April, 2024, at Kansas City, Kansas.


                                            S/ John W. Lungstrum
                                            JOHN W. LUNGSTRUM
                                            UNITED STATES DISTRICT JUDGE




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